MINUTE ENTRY FOR ARRAIGNMENT PROCEEDING

MAGISTRATE JUDGE: Sanket Bulsara

| DATE: 12/19/2024

CLERK: D. Wright

DOCKET #: 24 CR 504 (NRM)

| LOG TIME: 2:27-2:47pm

DEFENDANTS NAME: Uriel Kaykov

x Present | Not Present | _x_ Custody | Bail
DEFENSE COUNSEL: David Cohen
Court Appointed | Federal Defender | CJA |_x _ Retained
A.U.S.A: Sean Fern on behalf of Philip Pilmar
INTERPRETER: | LANGUAGE:
Defendant arraigned on the:___ Complaint _x Indictment __ Superseding Indictment __ Probation Violation

x_ Defendant pleads NOT GUILTY to ALL counts.

x ___ Defendants first appearance.

Government Agent Sworn

x__ Rule 5f warnings given to the govt.

DETENTION HEARING Held. x BAIL HEARING Held.
x __ Bond set at $ 100,000
Defendant: _x_ released held pending satisfaction of bond conditions.

x_ Defendant advised of bond conditions set by the Court and signed the bond.

Surety/ies sworn, advised of bond obligations by the Court and signed the bond.

(Additional) surety/ies to co-sign bond by

After hearing, Court orders detention in custody.

Leave to reopen granted.

Temporary Order of Detention Issued.

Bail Hearing set for

Preliminary Hearing set for

Preliminary Hearing waived by defendant

At this time, defense counsel states on the record that the defendant does not have a bail application /
package. Order of detention entered with leave to reapply to a Magistrate Judge or to the District Court Judge to

whom the case will be assigned.

x_ Order of Excludable Delay/Speedy Trial entered.

Start Date: 12/18/24/2024 | End Date:1/16/2025

Removal District:

Removal District Case Number:

Removal (Rule 5) Proceeding held.

Identity hearing held

Court: Orders removal Denies Removal

Defendant waives Identity hearing

Defendant waives Preliminary hearing

No bail application presented to the court. Commitment to the District entered.

Medical memo issued.

Defendant failed to appear; bench warrant issued.

x__ Status conference set for _1/16/2024

@ 12 noon

before District Judge: Morrison

Other Rulings: The government and defense counsel consented to a bail application. The court granted the bail

application.

